      Case 2:18-cv-02357-JCJ Document 48 Filed 12/07/18 Page 1 of 5



               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE REMICADE ANTITRUST        :      CIVIL ACTION
LITIGATION                      :
                                :
                                :
This document relates to:       :
                                :
Walgreen Co. and The Kroger Co. :      No. 18-cv-2357
Action                          :


                                 ORDER

     AND NOW, this   4TH      day of December, 2018, upon

consideration of Defendants’ Motion to Dismiss (Doc. No. 36),

Plaintiffs’ Response thereto (Doc. No. 38), and Defendants’

Reply in Support thereof (Doc. No. 41), it is hereby ORDERED as

follows:

     1. Defendants’ Fed. R. Civ. P. 12(b)(6) motion to dismiss

       Plaintiffs’ assigned antitrust claims is converted into a

       summary judgment proceeding so that Plaintiff has a

       reasonable opportunity to present all material relevant

       under Fed. R. Civ. P. 56.      Motions must be submitted

       within forty-five (45) days and any factual development

       shall be limited to whether the assignment to Retailer

       Plaintiffs was valid, and if so, whether Plaintiffs’

       antitrust claims are encompassed by the anti-assignment

       provision in the Distributor Agreements between

       Defendants’ affiliate and Wholesalers.
       Case 2:18-cv-02357-JCJ Document 48 Filed 12/07/18 Page 2 of 5



     2. Defendants’ Fed. R. Civ. P. 12(b)(6) motion to dismiss

        Plaintiffs’ direct purchaser antitrust claims is DENIED.         1




1     Before the Court is Defendants’ Johnson & Johnson and Janssen
Biotech, Inc. (collectively “Janssen”) (“J&J”) Motion to Dismiss for
failure to state a claim under Fed. R. Civ. P. 12(b)(6) (Doc. No. 36),
Plaintiffs’ Walgreen Co. and The Kroger Co. (“Retailer Plaintiffs”)
Opposition thereto (Doc. No. 38), and Defendants’ Reply in Support thereof
(Doc. No. 41).
      This case arises from Plaintiffs’ allegations that Defendants
violated federal antitrust statutes through an anticompetitive scheme to
exclude competition, maintain a monopoly over, and artificially inflate
prices in the biologic infliximab market. Pls’ Compl. ¶1. Plaintiffs are
retail stores which dispense prescription drugs including Defendants’
biologic infliximab, Remicade, to the public. Id. at ¶12. Plaintiff
Walgreen is suing on behalf of itself and as the assignee of
AmerisourceBergen Drug Corporation, a pharmaceutical wholesaler that
directly purchased Remicade from Defendants for resale to Walgreen. Id.
Plaintiff Kroger is suing on behalf of itself and as the assignee of
Cardinal Health, Inc., pharmaceutical wholesaler that directly purchased
Remicade from Defendants for resale to Kroger. Id. at ¶13. Plaintiffs
allege they have paid and continue to pay overcharges for their purchases
of Remicade as a result of Defendants’ “Biosimilar Readiness Plan,” an
anticompetitive scheme involving exclusive agreements and rebate bundling
in Defendants’ contracts with insurers and health care providers that
forecloses the ability of lower-priced biosimilar versions of Remicade to
compete. Id. at ¶6, ¶¶8-9, ¶41, ¶45-46, ¶48, ¶59. These allegations stem
from facts set forth in this Court’s Memorandums denying J&J’s motion to
dismiss Pfizer’s complaint and denying in part J&J’s motion to dismiss
Direct and Indirect Purchasers’ amended complaints. See Pfizer Inc. v.
Johnson & Johnson, No. 17-cv-4180, 2018 U.S. Dist. LEXIS 135261 (E.D. Pa.
Aug. 8, 2018); Doc. No. 58). See Direct and Indirect Purchasers v.
Johnson & Johnson, No. 17-cv-04326 and No. 18-cv-00303. Therefore, the
Court will only discuss facts relevant to this motion.
      The Distributor Agreements between Defendants’ affiliate, JOM, and
Wholesalers (Amerisource Bergen and Cardinal Health) include an assignment
provision that conditions assignment of rights or obligations “under this
agreement” on the “prior written consent of the other party.” (§4.4, J&J
Mot. at 17, Doc. No. 36-4).
      Defendants first ask this Court to dismiss Plaintiffs’ claims on the
ground that Plaintiffs lack antitrust standing because the assignments
under which they claim violations of the Sherman Act are invalid in the
absence of Defendants’ consent. (J&J Mot. at 15, Doc. No. 36-2). Second,
Defendants argue that even if the assignments are valid, Plaintiffs have
failed to specifically allege that Wholesalers expressly assigned
statutory antitrust rights. Id. Plaintiffs, on the other hand, argue
that their federal antitrust claims do not “arise under” the Distributor
Agreements, and therefore are not encompassed by the “anti-assignment”
provision of the Agreements.
      When considering a defendant’s motion to dismiss under Fed. R. Civ.
P. 12 (b)(6), “a court ‘must consider only the complaint, exhibits
       Case 2:18-cv-02357-JCJ Document 48 Filed 12/07/18 Page 3 of 5




attached to the complaint, matters of public record, as well as
undisputedly authentic documents if the complaint’s claims are based upon
these documents.’” Hartig Drug Co. v. Senju Pharm. Co., 836 F.3d 261, 273
(3d Cir. 2016) (quoting Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir.
2010). To survive [12(b)(6)] dismissal, a complaint “must contain
sufficient factual matter, accepted as true, to ‘state a claim to relief
that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678
(2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).
“Rule 12 (b)(6) requires that those specific allegations [in a complaint]
be accepted as true and viewed in the light most favorable to [the
plaintiff].” Hartig Drug Co., 836 F.3d at 274.
      The Third Circuit clarified in Hartig Drug Co. that where an
indirect purchaser plaintiff has “predicated its antitrust standing on an
assignment” from a direct purchaser; and where indirect purchaser
plaintiff does not mention or attach the distributor agreement in their
complaint, nor cite it as a matter of public record, nor claim the
agreement forms a basis for any of their claims, a District Court cannot
“properly consider[] it for purposes of a Rule 12 (b)(6) motion to
dismiss.” Id. Under Hartig Drug Co., in order to properly consider
documents like the Distributor Agreements here, that are extrinsic to
Retailer Plaintiffs’ complaint, we convert “[the 12(b)(6) motion] into a
summary judgment proceeding and afford the plaintiff a reasonable
opportunity to present all material made pertinent to a summary judgment
motion by Rule 56.” Id. (quoting JM Mech. Corp. v. United States, 716
F.2d 190, 197 (3d Cir. 1983)); (citing Rose v. Bartle, 871 F.2d 331, 342
(3d Cir. 1989)).
      1. Plaintiffs’ Assigned Antitrust Claims
      In an analogous Third Circuit case, Hartig Drug Co., indirect
purchaser Hartig alleged that defendants, pharmaceutical manufacturers of
eyedrops, had violated federal antitrust laws by suppressing competition
by generic drugs and charging supracompetitve prices for their product.
Hartig claimed antitrust standing to sue because AmerisourceBergen Drug
Corporation had expressly assigned its rights to Hartig, including the
right to bring antitrust actions. Hartig Drug Co., 836 F.3d at 264.
Similarly, here, Retailer Plaintiffs acknowledge that as indirect
purchasers they are barred under Illinois Brick from bringing antitrust
claims arising from Defendants’ alleged anticompetitive conduct. See Ill.
Brick Co. v. Illinois, 431 U.S. 720, 97 S. Ct. 2061 (1977) (holding that
only direct purchasers have standing to sue under federal antitrust
statutes). Therefore, to consider whether Retailer Plaintiffs have
antitrust standing as indirect purchaser assignees, and, subsequently, to
consider whether the distributor agreement encompasses their antitrust
claims (making those claims subject to the anti-assignment provision), we
need to interpret the Agreements. See Wallach v. Eaton Corp., 837 F.3d
356, 366 (3d Cir. 2016); In re Fine Paper Litig., 632 F.2d 1081, 1090 (3d
Cir. 1980).
      Thus, pursuant to Hartig Drug Co., we convert “[the 12(b)(6) motion]
into a summary judgment proceeding. . . .so that the parties may have the
opportunity to make their arguments under the proper procedural framework,
with its attendant safeguards.” 836 F.3d at 274.
      2. Plaintiffs’ Unassigned Antitrust Claims
      Plaintiffs additionally bring claims for overcharges on direct
purchases of Remicade and for injunctive relief. (Pls’ Opp. at 38).
       Case 2:18-cv-02357-JCJ Document 48 Filed 12/07/18 Page 4 of 5




Defendants move to dismiss Plaintiffs’ unassigned antitrust claims for
failure to sufficiently allege antitrust injury as a result of Defendants’
alleged anticompetitive conduct. Defendants primary argument is that
Plaintiffs fail to plead specific facts showing that Pfizer and Merck were
excluded from competing in the infliximab market by Defendants’ Biosimilar
Readiness Plan, rather than choosing not to compete. (J&J Mot. at 18).
      To establish antitrust injury, Plaintiffs “must show both that
[Defendants] engaged in anticompetitive conduct and that [they] suffered
antitrust injury as a result.” Eisai, Inc. v. Sanofi Aventis U.S., LLC,
821 F.3d 394, 402 (3d Cir. 2016). Antitrust injury is “‘injury of the
type the antitrust laws were intended to prevent and that flows from that
which makes defendants’ acts unlawful.’” Atl. Richfield Co. v. USA
Petroleum Co., 495 U.S. 328, 110 S. Ct. 1884 (1990) (quoting Brunswick
Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977). “This
standard, on a motion to dismiss, requires an antitrust plaintiff to
allege facts capable of supporting a finding or inference that the
purported anticompetitive conduct produced increased prices, reduced
output, or otherwise affected the quantity or quality of the product.” In
re EpePen ((Epinephrine Injection, USP) Mktg., Sales Practices & Antitrust
Litig., No. 2785, 2017 U.S. Dist. LEXIS 209710, at *64, 65 (D. Kan. Dec.
21, 2017) (citing National Collegiate Athletic Ass'n v. Board of Regents,
468 U.S. 85, 113 (1984); Cohlmia v. St. John Medical Center, 693 F.3d
1269, 1281 (10th Cir. 2012); Mathews v. Lancaster Gen. Hosp., 87 F.3d 624,
641 (3d Cir. 1996)).
      “The existence of antitrust injury is not typically resolved through
motions to dismiss” but rather “after discovery, either on summary
judgment or after trial.” Brader v. Allegheny Gen. Hosp., 64 F.3d 869,
876 (3d Cir. 1995); In re Suboxone (Buprenorphine Hydrochloride &
Naloxone) Antitrust Litig., No. 13-md-2445, 2017 WL 4910673, at *14 (E.D.
Pa. Oct. 30, 2017) (“Suboxone II”) (following “the Third Circuit’s caution
that the existence of antitrust injury is not typically resolved through
motions to dismiss.”).
      In the related actions, Pfizer Inc. v. Johnson & Johnson, No. 17-cv-
4180, 2018 U.S. Dist. LEXIS 135261 (E.D. Pa. Aug. 8, 2018), Doc. No. 58,
and Direct and Indirect Purchasers v. Johnson & Johnson, No. 17-cv-04326
and No. 18-cv-00303, we addressed Defendants’ same argument for dismissal:
Plaintiffs’ failure to allege antitrust injury on the ground that
Plaintiffs have not sufficiently shown competitors were unable to compete.
We apply the same reasoning here, where Retailer Plaintiffs’ antitrust
allegations derive from the same facts, that Defendants’ Biosimilar
Readiness Plan foreclosed competition from biosimilar infliximab drugs and
resulted in overcharges to Plaintiff purchasers. As in Hartig Drug Co.,
we find that “[Retailer Plaintiffs’] complaint plainly and repeatedly
emphasizes that, as a result of the Defendants’ anticompetitive behavior
in [blocking lower priced biosimilar versions of Remicade], [Plaintiffs
have] paid inflated prices for those products. Those allegations,
together with the complaint’s specific descriptions of anticompetitive
behavior indulged in by the Defendants, are sufficient to establish a
judicially redressable injury-in-fact that is fairly traceable to the
Defendants.” Hartig Drug Co., 836 F.3d at 272. As we held in Pfizer Inc.
v. Johnson & Johnson, Defendants’ argument that competitors may have been
unable to compete for reasons distinct from Defendants’ anticompetitive
conduct is not grounds for dismissal. “‘The existence of possible
       Case 2:18-cv-02357-JCJ Document 48 Filed 12/07/18 Page 5 of 5



                                        BY THE COURT:



                                        _S/J. CURTIS JOYNER__
                                        J. CURTIS JOYNER,   J.




alternative causes of an antitrust injury is not a valid ground for
dismissal.’ In other words, an antitrust plaintiff is not required to
disprove all other possible alterative causes to survive a motion
dismiss.” Pfizer Inc., No. 17-cv-4180, 2018 U.S. Dist. LEXIS 135261 at
*16-17 (E.D. Pa. Aug. 8, 2018) (quoting In re EpePen, 2017 U.S. Dist.
LEXIS 209710, at *76.). Factual development may reveal that competitors’
inability to successfully compete is not due to J&J’s conduct, yet that
argument is misplaced at this stage of the proceedings. We therefore deny
Defendants’ motion to dismiss Retailer Plaintiffs’ unassigned federal
antitrust claims.
